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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA




                                                         ~wewevrew
 v.                                                                  NO. 4:23-CR-127-P

 CHRISTOPHER KIRCHNER


      PETITION     IN THIRD-PARTY          ANCILLARY PROCEEDING                FOR    ADJUDICATION        OF
                                            LEGAL INTEREST

 To the United States District Court, United States Attorney Leigha Simonton et al:

         This matter is before the Court on individual third-party Alyssa Kirchner's “Valid Legal

 Interest in the Forfeited Property” filed in response to the Court's Preliminary Order of

  Forfeiture (included, named: Document #114). This petition concerns the Preliminary Order of


 Forfeiture, and Return of Property by adjudicating a valid legal interest in the forfeited property set out

 in 21 U.S.C. § 853(n)(1)(2).

 You will find this petition:

 i) signed by Alyssa Kirchner, under penalty of perjury,
 ii) identified the particular property in which a claim a legal right, title or interest,
 iii) identified the nature and extent of such right, title or interest in the forfeited property,
 iv) identified the time and circumstances of the acquisition of the right, title, and interest in the
 forfeited property,
 v) provided any additional facts and documents supporting a claim and the relief support.

         In submitting contemporaneously under filing this petition in third-party ancillary proceeding

  for adjudication of legal interest to the United States District Court and U.S Attorney’s Office, ATTN:

  Asset Recovery Section, I am also filing a petition of remission to the Attorney General concerning

  the forfeited property.   In the event any element for petition of relief is denied under 21 U.S.C. §

 853(n)(1)(2), then in the alternative I seek relief under 28 C.F.R § 9.
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         For the reasons set forth below, I, Alyssa Kirchner, am contesting the forfeiture, ask that this


 motion be granted and ask for my real and personal property, equity or cash value to be returned to




                                                I. Background

         I am Alyssa Kirchner, the innocent spouse of the Defendant (Christopher Kirchner). I submit


 this petition pro se as I have no means to retain and pay for an attorney due to the freezing and seizing


 of all my accounts and property.


         I am a stay-at-home mom to a four-year-old boy and have been since my son was born on


  September 17, 2019. Since becoming a mother, I have not worked in order to care for my son; and


  since the defendant’s arrest, the freezing of my bank & investment accounts in September 2022, the


 raid of my home and seizure of my personal property on February 14, 2023, filing of the indictment


  filed on May 2, 2023, superseding indictment filed on December 19, 2023, and the trial in January


  2024; I have not been able to obtain full-time employment with benefits, have a steady income, or


  receive employer-sponsored health insurance. I am awaiting the foreclosure notice of my


 home any day. Furthermore, I do not have a vehicle to transport myself to a job, my son to daycare, the


  doctor or to the grocery store. As a result of the Defendant's indictment, I have been surviving


  on miniscule paychecks that I earn through remote, temporary jobs. During the past 1.5 years, without


  the ability to pay for a lawyer, I've received minimal communications about proceedings and what


  rights as an innocent spouse I have.
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         Please, I ask that I am included on all notices and court filings related to the seized assets. I


  have a good faith claim for various items and cash that I can prove were earned through my own


  efforts, acquired as a bona fide purchaser or otherwise pre-dated the Defendant's conduct or was


 otherwise acquired with no connection to the Defendant's criminal conduct.

                                                II. Analysis

         I, Alyssa Kirchner, ask the Court to find the forfeiture invalid and that I do not presume the

  validity of the seizure based on the “unconstitutionally overbroad search” resulting in the seizure of

 anything small and valuable. The raid, search and seizure, and proposed forfeiture that took place at

  my residence at 1209 Perdenalas Trail,    Westlake, Tarrant County, on February 14, 2023 is not


  legitimate or valid. A valid and legitimate search and seizure may be presumed with the original items

 from the warrant, which is attached, and can be referenced as: “Original Search and Seizure Warrant”.


         Based on the findings below, I request the return of specific items of seized property pursuant

 to Rule 41(g) of the Federal Rules of Criminal Procedure and/or ancillary proceeding pursuant to 21

 U.S.C. § 853(n), Rule 32.2(c) of the Federal Rules of Criminal Procedure.Rule 41(g) provides: A

 person aggrieved by an unlawful search and seizure of property or by the deprivation of property may

 move for the property’s return. See also United Development Funding (“UDF”) v. United States, or

 Harbor Healthcare System, L.P v. United States, No.      19-20624, 2021 WL3009732 (2021)

 “unconstitutionally overbroad search resulted in the seizure of virtually everything... UDF now seeks

                                   3366,
 the return of the seized materials”“ongoing intrusion into its privacy and the continued possession”

 [by DOS”).

         Forfeiture is an in personam proceeding aimed at punishing criminals and deterring crime. The

 the Court cannot forfeit my, the innocent spouse's interests in her own property, only the interests of
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 the defendant, Christopher Kirchner. “A criminal defendant can only be made to forfeit what was his

 in the first place.” (Pacheco v. Serendensky, 393 F.3d 348 (2d Cir. 2004)). The government should be

  entitled to a partial forfeiture, as to do otherwise would give the government a windfall and deny an

  innocent third party of her ownership interests.

         I left my successful career and the workforce, with the understanding that I would be entitled


 to joint ownership of income and assets. I did nothing wrong; I did not break any laws. I did not


 participate in, or even know about, any wrongdoing. I am entitled to ownership of half of the marital


 assets, therefore any seizure of my, Alyssa Kirchner, the innocent spouse’s, assets should not be


 permitted.


         Texas is a community property jurisdiction. Any property acquired by a couple during their


 marriage is equally owned by both spouses, with the exception of ownership by one spouse before the


 date of marriage, or gifted to one spouse. I, Alyssa Kirchner, hold a partial interest in all of the


 forfeited property and the government deems the entire property forfeited, it would violate


 constitutional due process.


  III. In for Return of Innocent Spouse’s Property Wrongly Taken or Frozen In Asset Seizure On
                                         February 14, 2023

 Specifically, individual Alyssa Kirchner, the innocent spouse of the defendant, Christopher

 Kirchner, has filed a Claim, as a third-party Petitioner/Claimant to the all of the property, but specific

 interests in the following property which is subject to the Preliminary Order of Forfeiture entered in

 this case, claiming an interest in same:
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  Personal Property

     1.     Up to half (50%) of the $271,258.09 in equity of the 2021 Mercedes Benz AMG G63, VIN
            WINYC7HJ9MX401228; currently listed as ‘a.’ on page 2 of Document 114, PageID 2181.
                a.   Up to half (50%) of the $12,019.69 in equity of the 2021 Mercedes Benz AMG G63,
                     VIN WINYC7HJ9MX401228; currently listed as ‘a.’ on page 3 of Document 114,
                     PagelID 2182 as a substitute asset.
          . Up to half (50%) of the $115,785.85 in equity of the 2022 Rolls Royce Cullinan, VIN
            SLATV4C05NU211445; currently listed as ‘b.’ on page 2 of Document 114, PageID 2181.
                a.   Up to half (50%) of the $117,765.63 in equity of the 2022 Rolls Royce Cullinan, VIN
                     SLATV4C05NU211445; currently listed as ‘b.’ on page 3 of Document 114, PageID
                     2182 as a substitute asset.
            Ladies’ Rolex Oyster Perpetual DateJust Watch in 18K Rose Gold, Model 8125, Serial No.
            J0560855; currently listed as ‘e.’ on page 2 of Document 114, PageID 2181.
                a.   Ladies’ Rolex Oyster Perpetual DateJust Watch in 18K Rose Gold, Model 8125, Serial
                     No. J0560855; currently listed as ‘e.’ on page 4 of Document 114, PageID 2183 as
                     “Subject Property.”
            Up to half (50%) of the $12,632.15 in equity of the Cartier Panther-Style Pendant Necklace in
            18K Yellow Gold, seized on February 14, 2023; currently listed as ‘g.’ on page 2 of Document
            114, PageID 2181.
                a.   Up to half (50%) of the $8,151.85 in equity of the Cartier Panther-Style Pendant
                     Necklace in 18K Yellow Gold, seized on February 14, 2023; currently listed as ‘d.’ on
                     page 3 of Document 114, PageID 2182 as a substitute asset.
                         i.   Cartier Panther-Style Pendant Necklace in 18K Yellow Gold, seized on
                              February 14, 2023; currently listed as ‘g.’ on page 4 of Document 114, PageID
                              2183 as “Subject Property.”
      . Round Monette with Pink Roses Painting by Sarah Ashley Longshore; currently listed as ‘h.’
            on page 2 of Document 114, PageID 2181.
               a.    Round Monette with Pink Roses Painting by Sarah Ashley Longshore; currently listed
                     as ‘h.’ on page 4 of Document 114, PageID 2183 as “Subject Property.”
            3 bottles of 2008 Lokoya Mount Veeder ($2,922.70 charged on 1/20/23), 3 bottles of 2014
            Lokoya Diamond Mountain, 3 bottles of 2014 Lokoya Howell Mountain, 3 bottles of 2014
            Lokoya Spring Mountain ($1,500.00, $1,500.00, $1,500 + $371.25 = $4,871.25 charged on
            12/2/22), and $1,623.75 also charged on 12/2/22, totaling: $9,417.70.
            Audemars Piguet Automatic Chronograph Stainless Royal Oak Watch, Serial #K04977;
            currently listed as ‘h.’ on page 4 of Document 114, PageID 2183 as a substitute asset.
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                a.   Audemars Piguet Automatic Chronograph Stainless Royal Oak Watch, Serial #K04977;
                     currently listed as ‘o.’ on page 5 of Document 114, PageID 2184 as “Subject Property.”
     8.    Ladies Rolex Oyster Perpetual DateJust Watch in Stainless, Model #178240, Serial No.
           538M19LO; currently listed as ‘i.’ on page 4 of Document 114, PageID 2183 as a substitute
           asset.

     9.    $13,001.32 seized from Bank of America Account No. XXXXXXXX6744; currently listed as
           ‘1 on page 4 of Document 114, PageID 2183 as a substitute asset.
               a.    $13,001.32 seized from Bank of America Account No. XXXXXXXX6744;            currently
                     listed as ‘s.’ on page 5 of Document 114, PageID 2184 as “Subject Property.”




 Real Property

 Up to half (50%) of the $2,337,546.68 in equity, plus appreciation, in the real property located and
 situated at 1209 Perdenalas Trail, Westlake, Tarrant County; currently listed as ‘j.’ on page 2 of
 Document 114, PageID 2181.
           Up to half (50%) of the $100,643.56 in equity, plus appreciation, in the real property located at
 1209 Perdenalas Trail, Westlake, Tarrant County; currently listed as ‘f.’ on page 4 of Document 114,
 PageID 2183.
 This property was the residence listed in the search and seizure.

 Real Property located and situated at 1207 Perdenalas Trail, Westlake, Tarrant County, Texas, with all


 buildings, appurtenances, and improvements thereon and any and all surface and subsurface rights,

 title, and interests, if any. This property was not listed on the Original Search and Seizure Warrant.

 THIS PROPERTY            IS NOT   LISTED ON DOCUMENT            114, This item is not listed on Document


 #19 entitled, Indictment. This item is not listed on Document #68 entitled, Superseding Indictment.


 Claims:

           When the FBI raided my residence and seized my property on February 14, 2023, I was given


 the handwritten and signed receipt upon their exit, included and entitled, Receipt for Property, as well


 as the Original Warrant. This list does not include all of the items in which I have a good faith interest


 that have nothing to do with the crimes alleged against the Defendant.
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           The original indictment and superseding indictment (Docket Entries #19 & #68) assert the


  Defendant’s first act of misconduct took place on June 17, 2020.


     I claim an interest in the following property that was seized or frozen, all of which involved my


  personal funds that either pre-dated or otherwise had nothing to do with any misconduct:

      1.   Up to half (50%) of the $271,258.09 in equity of the 2021 Mercedes Benz AMG G63, VIN
           WINYC7HJ9MX401228; and up to half (50%) of the $12,019.69 in equity of the 2021
           Mercedes Benz AMG G63, VIN WINYC7HJ9MX401228;
           Texas is a community property jurisdiction. Any property acquired by a couple during their

           marriage is equally owned by both spouses. This vehicle was purchased, serviced, registered

            and insured in the state of Texas in the name of the petitioner and innocent spouse, Alyssa

           Kirchner.




     2.    Up to half (50%) of the $115,785.85 in equity of the 2022 Rolls Royce Cullinan, VIN
           SLATV4C05NU211445; and up to half (50%) of the $117,765.63 in equity of the 2022
           Rolls Royce Cullinan, VIN SLATV4C05NU211445; (“the Vehicle”).
           Texas is a community property jurisdiction. Any property acquired by a couple during their

           marriage is equally owned by both spouses. This vehicle was purchased, serviced, registered

           and insured in the state of Texas in the name of the petitioner and innocent spouse, Alyssa

           Kirchner.
           Additionally, Enclosed is the ‘Retail Purchase Agreement’ and bill of sale for this Vehicle.

           The alleged criminal conduct involving this Vehicle was count #13 on the original indictment

           (Docket Entry #19). Count #13 was dropped in the Superseding Indictment (Docket Entry

           #68). This was originally described as: “Down Payment on 3/15/22 of $75,000.00.” The

           purchase price of this Vehicle was $478,274.00. To pay for the Vehicle, the Defendant and I

           traded in our two, used cars. As shown in the purchase agreement, the trade-in value of the cars
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       we used to help pay for the Vehicle was $220,000 (the “Trade-In Value”). The remainder of the

        purchase price of $282,685.76 which was financed with the dealer (a debt which continues to

       be negatively reflected on my credit report). As I have had no transportation since the raid

       other than Uber & Lyft and/or borrowed cars, I claim 50% of the Trade-In Value under Texas’

       spousal, community property rights so that I can purchase a basic car and am no longer trapped

       at the marital home (which is going into foreclosure and which I cannot afford).




     . Ladies’ Rolex Oyster Perpetual DateJust Watch in 18K Rose Gold, Model 8125, Serial
       No. J0560855;
       This was gifted to me for my January Birthday, therefore the defendant bypassed his right

       under Texas Community Property and it is owned solely by me. This item was not on the

       Original Search and Seizure Warrant but was taken anyway by the Government - therefore

       making the search, seizure and forfeiture illegitimate. For all items related to this reference the

       enclosed attachment, entitled: Original Search and Seizure Warrant.



       This piece of property was never subject to forfeiture and should be returned to my possession.




     . Up to half (50%) of the $12,632.15 in equity of the Cartier Panther-Style Pendant
       Necklace in 18K Yellow Gold, and up to half (50%) of the $8,151.85 in equity of the
       Cartier Panther-Style Pendant Necklace in 18K Yellow Gold. This was gifted to me,

       therefore the defendant bypassed his right under Texas Community Property and it is owned

       solely by me.




     . Round Monette with Pink Roses Painting by Sarah Ashley Longshore; currently listed as
       ‘h.’ on page 2 of Document 114, PageID 2181. Round Monette with Pink Roses Painting by
       Sarah Ashley Longshore; currently listed as ‘h.’ on page 4 of Document 114, PageID 2183
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       as “Subject Property.”
       This item was not on the Original Search and Seizure Warrant but was taken anyway by the

        Government - therefore making the search, seizure and forfeiture illegitimate. For all items

       related to this and the associated pertinent information, please reference the enclosed

       document, entitled: Original Search and Seizure Warrant.




       This piece of property was never subject to forfeiture and should be returned to my possession.

       I first identified this painting prior to moving to Texas in 2020, and was in communications

       with the artist beginning in December 2020 and again in May 2020, well before the date of the

       misconduct. At this time, I had the funds separately from working full time as a salaried

       professional to pay for this. I researched the size, color and best fit for the space and also didn’t

       want to risk damaging it by buying ahead of time and having to move. This was a very coveted

       and premeditated buy that only involved myself and the artist, not the defendant. I purchased it

       after months of correspondence. I paid $17,234.25 on 12/29/20 with my own money using my

       American Express card ending in 01007. Enclosed as is a copy of the invoice and statement

       and dated communications. During the raid, as I was speaking with Agent Qiana Davis, she


       and her fellow FBI agents pointed to the painting, asked how much it cost, and took it off the

       wall. This item was not listed on the arrest warrant. It is listed as #23 on the Receipt of

       Property.




     . Item 43(k) on the Superseding Indictment - 57 bottles of wine (“Wine”). The Wine was


       delivered as part of a prior wine allocation that I joined as a “thank you” to Barbara Banke


       (whose family owns Jackson Family Wines) for whom I had worked in a professional capacity
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       prior to when I became a stay-at-home mom in 2019. When the wine was delivered in January


        2023, it was as a result of the automatic payment and delivery plan set up year(s) prior


       (allocation) and, given the shock of the FBI raid and freezing of my assets, I had not


       considered it until the Wine was delivered. I would never have agreed to pay for it when I


       cannot even pay the mortgage on the home. Critically, I continue to pay for this Wine using my


       own money after my credit card on which it was purchased (American Express card ending


       01007) was canceled. I am on a payment plan to pay off this credit card for another three more


       years.   Enclosed as combined Attachment # 6 are the invoices (3), credit card statement(s)


       reflecting this purchase, and the payment plan agreement.         I have concerns about whether


       the FBI has properly stored this wine since it was seized. Unless the wine’s been stored in a


       cool, climate controlled facility (and not exposed to the Texas heat/humidity), it may have


       turned into vinegar and may now be worthless. Since I continue to pay for the wine since it


       was delivered (using whatever money I can generate from the random, temporary and remote


       jobs I can pick up), I request its cash value, at the time of purchase, of $9,417.70. The


       breakdown is: 3 bottles of 2008 Lokoya Mount Veeder ($2,922.70 charged on 1/20/23), 3


       bottles of 2014 Lokoya Diamond Mountain, 3 bottles of 2014 Lokoya Howell Mountain, 3


       bottles of 2014 Lokoya Spring Mountain ($1,500.00, $1,500.00, $1,500 + $371.25 = $4,871.25


       charged on 12/2/22), and $1,623.75 also charged on 12/2/22, totaling: $9,417.70. As you are
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          aware, all accounts were frozen and locked in October of 2022, unbeknownst to me, credit card


          payments on this account were returned starting in November 2022, and my card was finally


          canceled upon a payback plan of $907/month that I am responsible for. These items were not


          on the Original Search and Seizure Warrant but were taken anyway by the Government -


          therefore making the search, seizure and forfeiture illegitimate.


     7.   Audemars Piguet Automatic Chronograph Stainless Royal Oak Watch, Serial #K04977;
          currently listed as ‘h.’ on page 4 of Document 114, PageID 2183 as a substitute asset.
          Audemars Piguet Automatic Chronograph Stainless Royal Oak Watch, Serial #K04977;

          currently listed as ‘o.’ on page 5 of Document 114, PageID 2184 as “Subject Property.” This

          item was NOT on the Original Search and Seizure Warrant but was taken anyway by the

          Government - therefore making the search, seizure and forfeiture illegitimate. This item was

          obtained prior to any misconduct, well before September 2019, was never subject to forfeiture,

          and should be returned to her possession. The government already has all the records, bill of

          sale, and receipt for this item and can verify the date and time of the purchase. This item is not

          listed on Document #80 entitled, Parties’ Agreed Proposed Forfeiture Jury Instructions. This

          item is not listed on Document #19 entitled, Indictment. This item is not listed on Document

          #68 entitled, Superseding Indictment.

  8. Ladies Rolex Oyster Perpetual DateJust Watch in Stainless, Model #178240, Serial No.
  538M19L0; currently listed as ‘i.’ on page 4 of Document 114, PageID 2183 as a substitute asset.

  This item was improperly seized and it should automatically render the forfeiture invalid. There is no

  presumption of validity of the seizure because this item was not on the original warrant. This item

  belongs to me and predates the misconduct. All items pertinent to this item are listing below:

  I received this watch as a gift on December 17, 2019 for when I became a mother, and as a Christmas

  gift and my birthday present. Enclosed is the invoice with date of purchase and backup

  documentation about this gift. This item was NEVER listed in the original warrant or the

  superseding indictment. It was, however, seized on February 14, 2023.       Please reference, Receipt of

  Property. This watch is listed as #16 “silver colored Rolex watch.” This watch continues to be held
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  improperly, without documentation, due process, and without any form of notice. I have not received it

  back or ever been contacted about it. This item is not listed on Document #80 entitled, Parties’ Agreed

  Proposed Forfeiture Jury Instructions. This item was listed on the original Indictment, Document

  #19, as Item 53(i) - Ladies Rolex Oyster Perpetual DateJust Watch in Stainless Steel, Model 178240,

  Serial No. 538M19L0 (“Watch”), but removed for Document #68 entitled, Superseding Indictment.

  However, there was never a mention of giving it back then, 5/2/23, either.



  9. $13,001.32 seized from Bank of America Account No. XXXXXXXX6744; currently listed as
  ‘1.’ on page 4 of Document 114, PageID 2183 as a substitute asset. $13,001.32 seized from Bank of
  America Account No. XXXXXXXX6744; currently listed as ‘s.’ on page 5 of Document 114,
  PageID 2184 as “Subject Property.” Bank of America Account No. XXXXXXXX6744.

  This account was in my name, Alyssa Kirchner, alone. I was the individual account holder and only

  signer ever associated with this account. At the time of the asset seizure, $13,000.04 was in this

  account. In May 2022, I opened this account by transferring funds from my prior savings account with

  Chase Bank ending in #2658 that I had funded prior to, and during the early part of, my marriage. I

  opened this Bank of America account in anticipation of leaving the Defendant as our relationship had

  been strained for years. I stayed only for the sake of my son. In November 2020, I spoke to my

  financial advisor at the time, Anthony Carpentieri, as to why I needed this account in my name alone.

  This account has never been listed in any asset seizure list or indictment. It was, however, frozen

  unjustly on September 15, 2022 with the same legal order as the other accounts referenced in the

  Defendant’s indictment, listed on the statement as: Legal Order, LTS P091522000166. This account

  was seized without just cause. Furthermore, I was given no correspondence via the government or the

  bank that this had been frozen or was tied to the defendant, essentially stranding me.                Enclosed is the

  correspondence’ involved in setting up this account and proof of the account balance in May

  2020.   Evident from the attachments, this was a single deposit and never drawn from or contributed to.

  The May 2022 statement, named: 5.10.22to5.13.22BOAStatementAK
                                                         Acct6744, included, further

  validates this by describing the deposit from the Chase Account naming the one Individual Account

  Holder as myself, Alyssa B. Kirchner: “INDN: ALYSSA B KIRCHNER”. This is/was all that I have

  for my future and literally represents my life savings. This was obtained prior to the commission of


  ‘T used my personal email which I had set up long before I was married. It is in my maiden name of Alyssa Strainer.
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  any misconduct, was never subject to forfeiture, and should be returned to her possession. This item

  predates the misconduct. This item is not listed on Document #80 entitled, Parties’ Agreed Proposed

  Forfeiture Jury Instructions. This item is not listed on Document #19 entitled, Indictment. This item

  is not listed on Document #68 entitled, Superseding Indictment.



  10. Additionally, during the raid and designated on the original document entitled, Receipt for

  Property, I would like all of my certificates and receipts and authenticity guarantees for my property.

  These receipts and paperwork could easily verify the validity of my claims, and dates of purchase so

  that my property can be returned to me.

  These were taken and listed in lines:
  14. Certificates and Receipts for Watches and Jewelry;
  15. Certificate of Authenticity for “Round Monette with Pink Roses” Painting;
  24. Three (3) Rolex Watch Boxes and One (1) Audemar Piguet Watch Box

                                                   IV. Relief Sought

           All of the foregoing items are all I have to show for ten years of living; and all that I have to

  begin a new life and take care of my son. Ideally, I would like half of all of my property, its equity or

  value returned to me. However, based on the ‘claims’ listed above, I, Alyssa Kirchner, petitioner ask:

      A. I would request the Bank of America Account ending in #6744 be unfrozen and all funds be
         released to me, the sole account holder, so that I can begin using them immediately.
      B. I would request the return of the Watches/jewelry and Painting be safely returned to me within
         thirty (30) days from the Court’s Order.
      C. If the likely event that the Wine has spoiled or otherwise has not been properly stored since it
         was seized, I would, in the alternative, request its retail cash value of $9,417.70.
      D. I also request my spousal 50% of the Trade-In Value used to purchase the Rolls Royce
           Cullinan, referenced as the ‘Vehicle’, or $110,000.

  Lastly, should the USA not agree with the totality of this Petition, I would respectfully request a

  hearing on this Petition.    In the event any element for petition of relief is denied under 21 U.S.C. §

  853(n)(1)(2), then in the alternative I seek relief under 28 C.F.R § 9. The hearing on the petition shall,

  to the extent practicable and consistent with the interests of justice, be held within thirty days of the

  filing of the petition. Rule 32.3(c) provides in part: If, as prescribed by statute, a third party files a

  petition asserting an interest in the property to be forfeited, the court must conduct an ancillary

  proceeding.
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  I, Alyssa Kirchner, submit this under the penalty of perjury.

  SIGNED this 02nd day of May, 2024.
                        e




                CHNER - Petitioner/Claimant

  ce:    Counsel of Record (via electrical filing system)
         Petitioner (via email at alyssabstrainer@gmail.com)
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Case 4:23-cr-00127-P Document 119 Filed 05/03/24                                   Page 25 of 74 PageID 2274


                                        UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA




                                                               ew
  v.                                                                       NO. 4:23-CR-127-P




                                                               wre
  CHRISTOPHER KIRCHNER

  ORDER

      Before the Court is Third-Party Innocent Spouse’s (“Petitioner” “Alyssa Kirchner”) Request for
  Return of Wrongly Seized Personal Property. Having considered the Third-Party’s Request, arguments
  for the    USA,   relevant   docket    entries   and   evidence,   and   applicable law, the Court GRANTS      the
  Petition in full. The USA shall immediately notify Bank of America to unfreeze account ending in
  #6744, to return the Watches, Painting and the Wine to the Petitioner within thirty (30) days from the
  date of this Order, and the USA return $                 via a government-issued check no later than
  seven (7) days from the date of this Order (the “Cash Payment”).
      In the event the Wine has spoiled or otherwise not properly maintained in a cool,
  climate-controlled facility since it was seized, the USA shall include an additional $                      in the
  Cash Payment.
      SO ORDERED on this                  day of                      __, 2024.



                                                            Leigha Simonton
                                                            United States Attorney


  (wer      Mark T. Pittman, United States District Judge
            Dimitri N. Rocha, Assistant United States Attorney
            Petitioner (via email at alyssabstrainer@gmail.com)
Case 4:23-cr-00127-P Document 119 Filed 05/03/24   Page 26 of 74 PageID 2275
  Case 4:23-cr-00127-P Document 119 Filed 05/03/24                               Page 27 of 74 PageID 2276
                                                                   U.S. Department of Justice

                                                                   United States Attorney
                                                                   Northern District of Texas

                                                                   1100 Commerce Street, Third Floor   — Main: 214.659.8600
                                                                   Dallas, Texas 75242-1699              Fax: 214.659.8803



 April 3, 2024
Regular Mail &
Certified Mail# 7022 2410 0002 7334 3703

Alyssa Kirchner
 1209 Perdenalas Trail
Westlake, TX 76262

Re:        Filing of Petition in Third-Party Ancillary Proceeding for Adjudication of Legal
           Interest
           United States v. Christopher Steven Kirchner | No. 4:23-CR-127-P (N.D. Tex.)

To Whom It May Concern:

         The United States District Court for the Northern District of Texas has ordered
that the defendant forfeit certain property to the United States as part of the above-listed
criminal case. The enclosed Preliminary Order of Forfeiture describes the property
subject to forfeiture. By receipt of this letter, you are given actual notice of the forfeiture
of that property. This letter is only intended to apprise you of your rights, and does not
imply you have a legally valid interest in the forfeited property.

         Should you have a valid legal interest in the forfeited property, the procedure for
filing a petition to adjudicate that interest in federal court is set out in 21 U.S.C. §
853(n)!. If you choose to file a petition concerning the forfeited property, you must file it
in the United States District Court,              1100 Commerce Street, Room               1452, Dallas, Texas
75242, under the above-listed case number, within 30 days of receiving this letter. You
must also send a copy of the petition to adjudicate your interest in the forfeited property
to the U.S. Attorney’s Office, ATTN: Asset Recovery Section, 1100 Commerce Street,
Suite 300, Dallas, Texas 75242. As set out in 21 U.S.C. § 853(n), your petition must i)
be signed by you under penalty of perjury; ii) identify the particular property in which
you claim a legal right, title or interest; iii) identify the nature and extent of such right,


'A petitioner must demonstrate that (1) his legal right, title, or interest in the property was vested in him rather than
the defendant or was superior to any right, title, or interest of the defendant at the time of the commission of the acts
which gave rise to the forfeiture, or (2) he was a bona fide purchaser for value of the right, title, or interest in the
property and at the time of the purchase reasonably without cause to believe that the property was subject to
forfeiture.
 Case 4:23-cr-00127-P Document 119 Filed 05/03/24               Page 28 of 74 PageID 2277

title or interest in the forfeited property; iv) identify the time and circumstances of your
acquisition of the right, title, and interest in the forfeited property; and v) provide any
additional facts and documents supporting your claim and the relief sought. If you fail to
timely file a judicial petition to assert your legal interest in the forfeited property, any
right, title and interest you claim in this property shall be lost and forfeited to the
Government.

          As an alternative, or in addition to filing a judicial petition in the United States
District Court, you may submit a petition for remission to the Attorney General
concerning the forfeited property. A petition for remission presumes the validity of the
forfeiture, but requests that the forfeited property nevertheless be released to you. The
requirements for a petition for remission are found in 28 C.F.R. § 9. Through the
petition, you may ask the Attorney General to return the forfeited property to you, or
recognize your interest in the forfeited property. If you choose to submit a petition for
remission concerning the forfeited property, you must submit it to the Attorney General,
c/o U.S. Attorney’s Office, Asset Recovery Section,       1100 Commerce Street, Suite 300,
Dallas, Texas 75242, within 30 days of receiving this letter. Your petition for remission
must (I describe your interest in the property, (ii) be supported by documentation and any
facts you believe justify the return of the property to you, and (iii) signed under penalty
of perjury.

        Please call me at 214.659.8600 with any questions or comments.

                                            Very truly yours,


                                            LEIGHA SIMONTON
                                            United States Attorney




                                            /s/ Dimitri N. Rocha
                                            By: Dimitri N. Rocha
                                            Assistant United States Attorney

Enclosure
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                       Page 29 of 74 PageID 2278
   Case 4:23-cr-00127-P          Document 114         Filed 03/25/24    Page1of7    PagelD 2180



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


  UNITED STATES OF AMERICA

  v.                                                            NO. 4:23-CR-127-P

  CHRISTOPHER KIRCHNER


                          PRELIMINARY ORDER OF FORFEITURE

          Based on the government’s Motion for Preliminary Order of Forfeiture, and

  good cause appearing, the Court GRANTS the motion, and FINDS:

          Considering defendant Christopher Kirchner’s (“Kirchner”) conviction as to

 Count One, Two, Three, and/or Four charging him with wire fraud, in violation of 18

 U.S.C. § 1343, the defendant must forfeit to the United States any property, real or

 personal, which constitutes or is derived from proceeds traceable to the violation,

 pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). In addition, considering

 Kirchner’s conviction as to Count Five, Nine, and/or Eleven charging him with

 engaging in monetary transactions in property derived from specific unlawful activity,

 in violation of 18 U.S.C. § 1957, the defendant must forfeit to the United States any

 property that is involved in the money laundering or proceeds of the fraud, pursuant to

  18 U.S.C. § 982(a)(1).

          Regarding the wire fraud convictions, and based on the government’s

 motion and attached evidence, the following property is subject to forfeiture

 under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §2461(c) because the United


Preliminary Order of Forfeiture (Kirchner) — Page 1
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                       Page 30 of 74 PageID 2279
   Case 4:23-cr-00127-P            Document 114       Filed 03/25/24   Page 2of7     PagelD 2181



  States has established the requisite nexus between the property and the wire

  fraud offense:

             a.   Up to $271,258.09 in equity of the 2021 Mercedes Benz AMG G63, VIN
                  WINYC7HJ9MX401228.
         b.       Up to $115,785.85 in equity of the 2022 Rolls Royce Cullinan, VIN
                  SLATV4C05NU211445.
         c.       Richard Mille 95% Platinum Watch with Sports Rubber Bracelet, Model
                  RMO008/AFPT/27, Serial No. PT950.
         d.       Up to $43,052.76 in equity in the Men’s Rolex Oyster Cosmograph Dayton
                  Watch, 18K Yellow Gold, Model       116508, Serial No. 124741T1.
         e.       Ladies’ Rolex Oyster Perpetual Date Just Watch in 18K Rose Gold, Model
                  81285, Serial No. J0560855.
         f.       Men's Rolex Oyster Perpetual Cosmograph Daytona Watch in 18K White
                  Gold, Model 116509, Serial No. Z071060.
        g.        Upto $12,632.15 in equity of the Cartier Panther-Style Pendant Necklace in
                   18K Yellow Gold, seized on February 14, 2023.
        h.        Round Monette with Pink Roses Painting by Sarah Ashley Longshore.
        i.        57 bottles of wine as follows:
                  * Up to $5,166.16 in equity of the Four (4) bottles of Hundred Acre Ark Wine
                  * Thirty-three (33) bottles of Lokoya 2018 Cabernet Sauvignon
                  * Up to $454.28 in equity of the Two (2) bottles of Vineyard 7 and 8 Estate
                    2018 Cabernet Sauvignon
                  * Up to $4,784.65 in equity of the Eighteen (18) bottles of Lokoya 2016
                   Cabernet Sauvignon
        j.        Up to $2,337,546.68 in equity, plus appreciation, in the real property located at
                  1209 Perdenalas Trail, Westlake, Tarrant County,
        k.        $3,508.99 seized from Bank of America Account No. XXXXXXXX3574, in
                  the name of KFIM, LLC.
        1.        $500,000.00 of the $500,000.82 seized from Bank of America Account No.
           XXXXXXXX1186, in the name of Alyssa Kirchner.
        m. $39,501.76 seized from Bank of America Account No. XXXXXXXX5469, in
           the name of Christopher Kirchner and/or Alyssa Kirchner.
        n.        $32,292.90 seized from Bank of America Account No. XXXXXXXX5472,              in
                  the name of Christopher Kirchner and/or Alyssa Kirchner.

              Regarding the money       laundering convictions at Count Five, Nine,

and/or Eleven, and based on the government’s motion and attached evidence,




Preliminary Order of Forfeiture (Kirchner) — Page 2
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                       Page 31 of 74 PageID 2280
   Case 4:23-cr-00127-P           Document 114        Filed 03/25/24    Page 3o0f7   PagelD 2182



the following property is subject to forfeiture under 18 U.S.C. § 982(a)(1) because

the United States has established the requisite nexus between the property and the

offense:

          a.    2021 Mercedes Benz AMG G63, VIN WINYC7HJ9MX401228.
          b.    The real property located at 1209 Perdenalas Trail, Westlake, Tarrant County.

          In addition, the Court finds that the defendant obtained fraud proceeds at least

equal to the amount used to purchase the Gulfstream private jet. Pursuant to Fed. R.

Crim. P. 32.2(b)(1)(A) and 21 U.S.C. § 853(a), the Court imposes against the defendant a

personal money judgment of $16,131,500.00. To satisfy the money judgment in whole or

in part, the United States may move at any time under Fed. R. Crim. P. 32.2(e) to amend

this order to include the forfeiture of substitute property having a value not to exceed

$16,131,500.00. Payments towards the forfeiture money judgment shall be made to the

United States Marshals Service, 1100 Commerce Street, Room                1657, Dallas, Texas,

75242.        Telephone: 214-767-0836.

         Now considering the addition of the government’s request for substitute assets to

the property for the preliminary order of forfeiture, the Court finds the following subject

to forfeiture as substitute assets:                                                                |

         a.     Up to $12,019.69 in equity of the 2021 Mercedes Benz AMG G63, VIN
                WINYC7HJ9MX401228.
         b.     Up to $117,765.63 in equity of the 2022 Rolls Royce Cullinan, VIN
                SLATV4C05NU211445.
         c.     Up to $2,341.88 in equity of the Men’s Rolex Oyster Cosmograph Dayton
                Watch, 18K Yellow Gold, Model 116508, Serial No. 124741T1.
         d.     Up to $8,151.85 in equity of the Cartier Panther-Style Pendant Necklace in
                18K Yellow Gold, seized on February 14, 2023.
         e.     Bottles of wine as follows:


Preliminary Order of Forfeiture (Kirchner) — Page 3
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                       Page 32 of 74 PageID 2281
   Case 4:23-cr-00127-P          Document 114         Filed 03/25/24   Page 4of7   PagelD 2183



              * Up to $3,333.85 in equity of the Four (4) bottles of Hundred Acre Ark Wine
              * Up to $331.97 in equity of the Two (2) bottles of Vineyard 7 and 8 Estate
                2018 Cabernet Sauvignon
              * Up to $3,496.48 in equity of the Eighteen (18) bottles of Lokoya 2016
                Cabernet Sauvignon
         f.   Up to $100,643.56 in equity, plus appreciation, in the real property located at
              1209 Perdenalas Trail, Westlake, Tarrant County,
        g.  $0.82 of the $500,000.82 seized from Bank of America Account No.
            XXXXXXXX1186, in the name of Alyssa Kirchner.
         h. Audemars Piguet Automatic Chronograph Stainless Royal Oak Watch, Serial
            #K04977.
         i. Ladies Rolex Oyster Perpetual Date Just Watch in Stainless, Model #178240,
            Serial No. 538M19L0.
        j. One 3 liter 2016 Cabernet Sauvignon from Vineyard 7 and 8 Estate.
        k. One 1.5 liter 2013 Cabernet Sauvignon from Two Eight One.
        1.    $13,001.32 seized from Bank of America Account No. XXXXXXXX6744.

        In considering the defendant’s assets that are subject to forfeiture as proceeds of

the fraud and/or involved in the money laundering, and in conjunction with the substitute

assets, the following “Subject Property” is subject to forfeiture:

        a.    2021 Mercedes Benz AMG G63, VIN WINYC7HJ9MX401228.
        b.    2022 Rolls Royce Cullinan, VIN SLATV4C05NU211445.
        c.    Richard Mille 95% Platinum Watch with Sports Rubber Bracelet, Model
              RMO008/AFPT/27, Serial No. PT950.
        d.    Men’s Rolex Oyster Cosmograph Dayton Watch, 18K Yellow Gold, Model
           116508, Serial No. 124741T1.
        e. Ladies’ Rolex Oyster Perpetual Date Just Watch in 18K Rose Gold, Model
           81285, Serial No. J0560855.
        f. Men's Rolex Oyster Perpetual Cosmograph Daytona Watch in 18K White
           Gold, Model 116509, Serial No. Z071060.
        g. Cartier Panther-Style Pendant Necklace in 18K Yellow Gold, seized on
           February 14, 2023.
        h. Round Monette with Pink Roses Painting by Sarah Ashley Longshore.
        i. 57 bottles of wine as follows:
           * Four (4) bottles of Hundred Acre Ark Wine
              * Thirty-three (33) bottles of Lokoya 2018 Cabernet Sauvignon
              * Two (2) bottles of Vineyard 7 and 8 Estate 2018 Cabernet Sauvignon
              * Eighteen (18) bottles of Lokoya 2016 Cabernet Sauvignon


Preliminary Order of Forfeiture (Kirchner) — Page 4
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                           Page 33 of 74 PageID 2282
   Case 4:23-cr-00127-P           Document 114         Filed 03/25/24       PageS5of7   PagelD 2184



        j.      The real property located at 1209 Perdenalas Trail, Westlake, Tarrant County,
                including any appreciation.!
         k.     $3,508.99 seized from Bank of America Account No. XXXXXXXX3574, in
                the name of KFIM, LLC.
         1.     $500,000.82 seized from Bank of America Account No. XXXXXXXX1 186, in
                the name of Alyssa Kirchner.
        m. $39,501.76 seized from Bank of America Account No. XXXXXXXX5469, in
           the name of Christopher Kirchner and/or Alyssa Kirchner.
        n. $32,292.90 seized from Bank of America Account No. XXXXXXXX5472, in
           the name of Christopher Kirchner and/or Alyssa Kirchner.
        o. Audemars Piguet Automatic Chronograph Stainless Royal Oak Watch, Serial
           #K04977.
        p. Ladies Rolex Oyster Perpetual Date Just Watch in Stainless, Model #178240,
           Serial No. 538M19L0.
        q. One 3 liter 2016 Cabernet Sauvignon from Vineyard 7 and 8 Estate.
        r. One 1.5 liter 2013 Cabernet Sauvignon from Two Eight One.
        s.      $13,001.32 seized from Bank of America Account No. XXXXXXXX6744.

              Accordingly, IT IS HEREBY ORDERED:

              Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §2461(c), 18 U.S.C. §

 982(a)(1), Fed. R. Crim. P. 32.2(b)(1)(A), and Fed. R. Crim. P. 32.2(b), all right, title,

 and interest in the Subject Property is forfeited to the United States of America.

              Under Fed. R. Crim. P. 32.2(b)(3), the Attorney General (or designee) is

 authorized to seize the Subject Property, conduct any discovery proper in identifying,

 locating, or disposing of the property subject to forfeiture, and commence an ancillary

 proceeding under 21 U.S.C. § 853(n) to account for potential third-party interests.

              Under 21 U.S.C. § 853(n)(1), the United States shall publish notice of this Order

 on the government’s internet website, www.forfeiture.gov. The United States may

 also, to the extent practicable, provide written notice to any person known to


' The legal description of this real property is in the Superseding Indictment.



Preliminary Order of Forfeiture (Kirchner) — Page 5
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                       Page 34 of 74 PageID 2283
   Case 4:23-cr-00127-P          Document 114         Filed 03/25/24   Page 6of7   PagelD 2185



  have an alleged interest in the Subject Property.

          Under 21 U.S.C. § 853(n)(2), any person, other than the defendant, asserting a

  legal interest in the Subject Property may, within thirty days of the final publication of

  notice or receipt of notice, whichever is earlier, petition the Court for a hearing without

  a jury to adjudicate the validity of his or her alleged interest in the Subject Property.

          Under 21 U.S.C. § 853(n)(3), any third-party petition shall be signed by the

  petitioner under penalty of perjury and shall set forth the nature and extent of the

  petitioner’s right, title, or interest in the Subject Property, the time and circumstances

  of the petitioner’s acquisition of the right, title, or interest in the Subject Property, any

 additional facts supporting the petitioner’s claims, and the relief sought.

          Under Fed. R. Crim. P. 32.2(c)(1)(B), after the disposition of any motion filed

 under Fed. R. Crim. P. 32.2(c)(1)(A), and before a hearing on the petition, discovery

 may be conducted in accordance with the Federal Rules of Civil Procedure upon a

 showing that such discovery is necessary or desirable to resolve factual issues.

          Under 21 U.S.C. § 853(n)(7), the United States shall have clear title to the

 Subject Property following the Court’s disposition of all third-party interests, or if no

 petitions are filed, following the expiration of the period provided in 21 U.S.C. §

 853(n)(2) for the filing of third-party petitions.

         Under Fed. R. Crim. P. 32.2(b)(4), this order shall become final as to the

 defendant at the time of sentencing and shall be made part of the sentence and

 referenced in the judgment.




Preliminary Order of Forfeiture (Kirchner) — Page 6
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                       Page 35 of 74 PageID 2284
   Case 4:23-cr-00127-P          Document 114         Filed 03/25/24   Page 7of7   PagelD 2186



          The Court shall retain jurisdiction to enforce this Order, and to amend it as

  necessary under Fed. R. Crim. P. 32.2(e).



          SO ORDERED           this 25" day of March 2024.




                                          MARK T. PITTMAN
                                          UNITED STATES DISTRICT JUDGE




Preliminary Order of Forfeiture (Kirchner) — Page 7
eS                                              EEE                        EEE



            Case 4:23-cr-00127-P Document 119 Filed 05/03/24                                      Page 36 of 74 PageID 2285
                                                TRANSMISSION       VERIFICATION          REPORT

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     Keller, TX 76248
     817.337.0233   Tel
     817.337.4474 Fax
     store3653@theupsstore.com
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Case 4:23-cr-00127-P Document 119 Filed 05/03/24   Page 37 of 74 PageID 2286
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AO 93 (Rev.   12/09) Search and Seizure Warrant




  0 RI                                   UNITED STATES DISTRICT COURT
                                                                           for the
                                                             Northern District of Texas

                     In the Matter of the Search of                             )
                (Briefly deseribe the property to be searched                    )
                 or identify the person by name and address)                    ) Case No,           4:23-MJ-120
                                                                                )
      The premises located at 1209 Perdenalas Trail,
                                                                                ) FILED         UND
      Westlake, Tarrant County, Texas, including the
        residence and any buildings located thereon                             )

                                                    SEARCH      AND SEIZURE WARRANT
fo:         Any authorized law enforcement officer

         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                            District of             Texas
(identify the person or describe the property to be searched and give
 The premises located at 1209 Perdenalas Trail, Westlake, Tarrant County, Texas, including the residence and any
 buildings located thereon, as further described in Attachment A.

            The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):
 See Attachment B


            I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

            YOU ARE COMMANDED to exccute this warrant on or before                                              7 4) 2H           | 23
                                                                                                                       (not to exceed 14 days!
       w in the daytime        6:00 a.m. to 10 p.m.                ©   at any time in the day or night as I find reasonable cause has been
                                                                       established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
United States Magistrate J     Jeffrey L. Cureton

                                    (name)

            I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of      trial). and authorize the officer executing this warrant to delay notice to the                 per
searched or seized (check the appropriate boxi               for             days (not to exg
                                                        © until, the facts justifying, t




City and state: Fort Worth, Texas                                                    United Statez            gistrate Judge Jeffrey L. Cureton
                                                                                                               Printed name and title
Case 4:23-cr-00127-P Document 119 Filed 05/03/24   Page 39 of 74 PageID 2288
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                                     Page 40 of 74 PageID 2289


A093   (Rev.   12 09) Search and Seizure Warrant (Page 2)

                                                                   Return

Case No.:                                 Date and time warrant executed:   Copy of warrant and inventory lefi with:
 4:23-MJ-120
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




Po
Certifications
Pa

        / declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.



Date
                                                                                 Executing officer's signature


                                                                                    Printed name and title
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                    Page 41 of 74 PageID 2290




                                     ATTACHMENT A
                                PROPERTY TO BE SEARCHED

           The Premises is the brown one-story single-family residence with a tile roof and
    stone and stucco exterior walls located at 1209 Perdenalas Trail, Westlake, ‘Tarrant
    County, Texas, and includes the following contained within the property lines:
    permanent and temporary structures (residences, garages, attics, basements. shops, sheds.
    greenhouses, and shelters); safes, lock boxes, or other security containers: cars, trucks,
    vans, vehicles, boats, trailers, and shipping containers: mailboxes; garbage cans or
    dumpsters: grounds/yards; and any other objects capable of holding, containing, or
    concealing any of the items listed in Attachment B.

           The approximate GPS coordinates for the Premises are (32.96068, -97.18716).           A
    photo of the main structure is shown here:




    Attachment A
Case 4:23-cr-00127-P Document 119 Filed 05/03/24                  Page 42 of 74 PageID 2291




                                       ATTACHMENT B
                                     ITEMS TO BE SEIZED
         I. Richard Mille RM008 AF PT watch, serial number RM0008 AF #27.
        2. 2021 Mercedes Benz AMG G63, VIN WINYC7HJ9MX401228.
        3. Rolex Datejust Pearlmaster RG Auto 34mm White Goldust Dream Roman Dial
              RG Diamond Bezel RG Pearlmaster Bracelet 81285 with serial number 4577409.
        4.    Rolex Daytona Cosmograph WG Auto 40mm Sliver Black Arabic Dial Black
              Outlined Sub Dials WG Oyster Bracelet 116509 with serial number 4547691.
              2022 Rolls Royce Cullinan, VIN SLATV4COSNU21       1445.
              Rolex Model M116508-0015 watch with serial number 124741T1.
       I SN




              Love bracelet, yellow gold, diamond, Article # CRN6035017,   Serial # KMX181.
              Necklace, yellow gold garnet onyx, Article # CRN7424210, Serial # KGN774.
       1




              Ring, yellow gold diamond emerald, Article # CRN4225052, Serial # LHX805.
       82




    Attachment B
             Case 4:23-cr-00127-P Document 119 Filed 05/03/24                                  Page 43 of 74 PageID 2292
  FD-597 (Rev. 4-13-2015)                                                                                          bet

                                      UNITED STATES DEPARTMENT OF JUSTICE
                                                 FEDERAL BUREAU OF INVESTIGATION
                                                          Receipt for Property

  Case ID:

             On (date)         02] rt | 2v2                       item (s) listed below were:




                                                   Wu
                                                                        Collected/Seized




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     UNITED STATES OF AMERICA
                                                          |
     V.                                                   |       CRIMINAL NO.

     CHRISTOPHER KIRCHNER                                 |             4:23-cr-127-P

                                               INDICTMENT

    At all times material to this Indictment:

                                    The Defendant and Relevant Entities

              1.        Defendant Christopher Kirchner was the chief executive officer (“CEO”)

    of Slync.io (“Slyne”).       Slyne was a supply-chain management software company.

              2.        In or about 2017, defendant Christopher Kirchner founded Slyne with

    others.        Kirchner was Slync’s CEO from approximately 2017 until July 2022, when he

    was suspended by Slync’s Board of Directors.          Kirchner was terminated from Slync in

    or about August 2022.

              3.        Slyne was funded in part by private equity investors, both individuals and

    venture capital groups.       This funding came largely from two primary fundraising

    campaigns: a Series A offering and a Series B offering.           From in or about March 2020 to

    May 2020, Slync raised approximately $7.2 million in the Series A preferred stock

    offering, which valued Slync at approximately $32 million.           Then, from in or about

    December 2020 to May 2021, Slync raised approximately $50 million in the Series B

    preferred stock offering, which valued Slync at approximately $175 million.
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         4.      During his time as CEO, defendant Christopher Kirchner maintained

  close control over Slync’s operations, sales, and recordkeeping.     Kirchner restricted

  other employees’ access to information about the company’s finances and because Slync

  never implemented formal accounting or financial control functions, Kirchner was the

  sole decisionmaker regarding when, how, and whether the company would record

  revenue.

         3s      In or about July 2017, defendant Christopher Kirchner opened a bank

  account ending in 0392 on behalf
                               of Slyne at JPMorgan Chase Bank (“Slyne Chase

  account”).   Kirchner had sole signatory authority on the Slync Chase account.

         6.      In or about October 2019, defendant Christopher Kirchner opened a bank

  account ending in 6437 on behalf
                               of Slyne at Silicon Valley Bank (“Slyne SVB

  account”).   Both Kirchner and another Slync employee known to the Grand Jury as

  Individual | had signatory authority on the Slync SVB account.      Whenever Kirchner

  initiated a wire or transfer of more than $100,000 from the Slync SVB account,

  Individual 1s approval was required to complete the transfer.      Similarly, whenever

  Individual | initiated a wire or transfer of more than $100,000 from the account,

  Kirchner’s approval was required to complete the transfer.

         7.      In or about January 2015, defendant Christopher Kirchner opened a

  personal checking account ending in 8697 at JPMorgan Chase Bank.

         8.      In or about April 2020, defendant Christopher Kirchner opened a

  personal checking account ending in 2337 at JPMorgan Chase Bank.
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          9.      In or about June 2020, defendant Christopher Kirchner opened a personal

  checking account ending in 0637 at Silicon Valley Bank.

          10.    In or about June 2020, defendant Christopher Kirchner opened a personal

  savings account ending in 0219 at Silicon Valley Bank.

          11.    In or about December 2020, defendant Christopher Kirchner opened a

  personal checking account ending in 5469 at Bank of America.

          12.    In or about January 2021, defendant Christopher Kirchner opened a

  checking account ending in 3574 in the name of KFIM—a limited liability company

  which Kirchner controlled—at Bank of America.

                                    The Scheme to Defraud

          13.    From at least in or about 2020 through in or about August 2022, defendant

  Christopher Kirchner perpetrated a scheme to defraud Slync and Slynce investors out of

  at least $25,000,000 by failing to use investors’ funds as represented and converting

  Slync and Slync investors’ money to his own use.     Through bank transfers and direct

  payments from Slync accounts, Kirchner converted to his own use over $25,000,000 in

  Slyne and Slync investors’ funds that he had represented would go to the Slync’s

  operations.   Among other things, Kirchner spent Slync and Slync investors’ money on a

  private jet, his residence in Westlake, Texas, and personal items such as credit card bills,

  jewelry, automobiles, and daily living expenses.

          14.    On or about March 30, 2020, Slync and persons and entities known to the

  Grand Jury as Investors 1, 2, 3, 4, 5, and 6 entered into Series A Preferred Stock Purchase

  Agreements (“Series A Purchase Agreements”).       The Series   A Purchase Agreements
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  stipulated that Slync would use the proceeds received from the Series A investors “for

  product development and other general corporate purposes.”

         15.    After the execution of the Series A Purchase Agreements, Investors 1, 2, 3,

  4, 5, and 6 initiated electronic wire transfers to invest money in Slync.      In total, between

  on or about March 30, 2020, and on or about May 14, 2020, Slync raised approximately

  $7.2 million in financing through the Series A fundraising, which included the following:

                     Date                                          Amount

                   3/30/2020            Investor 1               $3.999,998.85
                   3/31/2020            Investor 2               $2,789,026.25
                   3/31/2020            Investor 3                $24,999.34
                   5/13/2020            Investor 4               $100,000.00
                   5/13/2020            Investor 5                $92,820.00
                   5/14/2020                                     $207,180.00
                                                     Total | $7,214,024.44

         16.   | On or about December 11, 2020, Slync and persons and entities known to

  the Grand Jury as Investors 1, 6, 7, 8, 9, and 10 entered into Series B Preferred Stock

  Purchase Agreements (“Series     B Purchase Agreements”).      The Series B Purchase

  Agreements stipulated that Slync would use the proceeds received from the Series B

  investors to repay an outstanding loan and “for product development and other general

  corporate purposes.”

         17.    After the execution of the Series B Purchase Agreements, Investors 1, 6, 7,

  8, 9, and 10 initiated electronic wire transfers to invest money in Slync.     In total, between

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  on or about December 13, 2020, and on or about May 7, 2021, Slync raised

  approximately $50 million in financing through the Series B fundraising, which included

  the following:

                      Date          a           Payer               Amounts

                   12/11/2020                 Investor 7                 $34,999,997.45

                   12/15/2020                 Investor 1                  $499,999.08

                   12/28/2020 |               Investor 8                  $7,499,995.70

               | 12/28/2020                   Investor 9                  $199,997.72
                   3/3/2021     |             Investor 6                 $1,130,235.13                   ,

                   3/3/2021                  Investor 10                  $420,000.00

                   5/7/2021                   Investor 8                 $5,000,009.90

                   5/7/2021                   Investor 8                  $239,764.55

                                                             Total |     $49,989,999.53


                              Kirchner’s Misappropriation of Slync Funds

         18.       All the investor funds obtained during the Series A and Series B

  fundraising rounds were wired to the Slync SVB account.

         19.       On or about March 30, 2020, Investor 1 sent $3,999,998.85 via wire

  transfer to the Slync SVB account.          Prior to Investor 1’s wire transfer, which was the first

  that Slync received from its Series A investors, the Slyne             SVB account was overdrawn by

  approximately $693.21.        Pursuant to the Series      A Purchase Agreements, the invested

  funds were to be used for product development and other general corporate purposes.
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         20.       Between on or about April 6, 2020, and on or about November 23, 2020,

  defendant Christopher Kirchner initiated a series of approximately 27 wire transfers

  totaling approximately $2,174,000 from the Slync SVB account to the Slyne Chase

  account.     The amounts of these transfers varied between approximately $22,500 and

  $99,750—each less than the $100,000 threshold requiring Individual |’s approval.           In

  many instances, after Kirchner caused the transfer to the Slync Chase account, he then

  moved the money to personal bank accounts and used it to fund his lifestyle, including,

  but not limited to, the following:

                   a.          Defendant Christopher Kirchner transferred approximately

         $1,311,400 to personal bank accounts that he controlled as follows—

                          i.         $1,145,900 to Kirchner’s bank account ending in 2337 at

                  JPMorgan Chase Bank;

                         ii.         $153,000 to Kirchner’s bank account ending in 8697 at

                  JPMorgan Chase Bank; and

                        iii.         $12,500 to Kirchner’s bank account ending in 0219 at

                  Silicon Valley Bank.

                  b.           Defendant Christopher Kirchner paid approximately $484,895 to

         two private jet charter companies.

                  C.           Defendant Christopher Kirchner paid approximately $16,957 to a

         vineyard located in Napa Valley, California.

                  d.           Defendant Christopher Kirchner paid approximately $14,853 on

         his personal credit cards.
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         21.    Prior to these 27 wire transfers from the Slyne SVB account to the Slyne

  Chase account, the Slyne Chase account had a balance of approximately $5,900.

         22.    Onor about December 11, 2020, Investor 7 sent $34,999,997.45 via wire

  transfer to the Slync SVB account.      Prior to the transfer, which was the first that Slync

  received from its Series B investors, the Slync SVB account was overdrawn by

  approximately $232,423.       Pursuant to the Series   B Purchase Agreements, the invested

  funds were to be used for the repayment of a loan, product development, and other

  general corporate purposes.

         23.    Onor about December 13, 2020, defendant Christopher Kirchner

  communicated with Individual | via text message regarding the Slync SVB account.                In

  this exchange, Kirchner represented to Individual | that he was transferring money from

  the Slyne SVB account to: (1)an “investment account”; and (2) a “chase” account.

  Presumably because any transfer over $100,000 required Individual 1’s approval,

  Kirchner told Individual | that he would “have to approve those wires.”

         24.    Defendant Christopher Kirchner’s representations to Individual | were

  false. That is, Kirchner did not move the funds to either an “investment account” or a

  “chase” account.   Rather, on or about December 14, 2020, Kirchner transferred

  $20,000,000 from the Slync SVB account to Kirchner’s personal bank account ending in

  0637 at Silicon Valley Bank.

         25.   | Onor about December 14, 2020, defendant Christopher Kirchner emailed

  private bankers at Silicon Valley Bank regarding the $20,000,000 transfer from the Slync

  account to his personal checking account.      In the email, Kirchner stated:
                                                   7
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         I took a distribution from my company today and am moving money out for
         a few things that I need to get taken care of before year end.

         One, is a wire for $5,000,000 to an escrow company for a plane that | am
         purchasing. I need this one completed ASAP as it’s very time sensitive in
         order to complete a transaction this month.

         Could you make sure this one in particular is done as fast as possible?

         26.     At no point did defendant Christopher Kirchner receive authorization

  from Slync’s Board of Directors for a $20,000,000 distribution of Series B investor funds

  into his personal checking account.   Kirchner misappropriated the $20 million for his

  personal use, which included, but was not limited to, the following:

                 a.    Defendant Christopher Kirchner paid approximately $16,000,000

         for the deposit and purchase of a Gulfstream GV-SP (G550) private jet.

                 b.    Defendant Christopher Kirchner transferred approximately

         $800,000 to his bank account ending in 5469 at Bank of America.

                 CG:   Defendant Christopher Kirchner paid approximately $495,000 to

         secure a private luxury suite at the stadium of a Dallas-area professional sports

         team.

                 d.    Defendant Christopher Kirchner paid approximately $22,000 in

         membership fees for a private golf and social club located in Westlake, Texas,

         where he was a member.

         27.     Between in or about January 15, 2021, and March 22, 2022, defendant

  Christopher Kirchner initiated a series of approximately 70 wire transfers totaling

  approximately $6,814,016 from the Slync SVB account to the Slyne Chase account.            The
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  amount of these transfers varied from $35,000 to $99,987—each less than the $100,000

  threshold requiring Individual 1°s approval.           In many instances, Kirchner then moved

  money from the Slync Chase account to personal bank accounts and used it to fund his

  lifestyle, which included, but was not limited to, the following:

                 a.         Defendant Christopher Kirchner transferred approximately

         $5,931,100 to personal bank accounts that he controlled as follows—

                       i.         $5,167,250 to the KFIM bank account ending in 3574 at Bank

                 of America that Kirchner controlled; and

                      ii.         $763,850 to Kirchner’s bank account ending in 2337 at

                 JPMorgan Chase.

                 b.         Defendant Christopher Kirchner paid at least approximately

         $516,360 on his personal credit cards.

                                   Kirchner’s Acts       of Concealment

         28.     On multiple occasions in or about April, May, and June 2022, Slyne paid

  employees late or missed payroll.

         29.   _ As Slyne struggled to pay payroll, defendant Christopher Kirchner took

  steps to replace some of the money that he had misappropriated.             That is, in or about

  April and May 2022, Kirchner induced at least four persons known to the Grand Jury as

  Investors 11, 12, 13, and 14 to wire money to Slync as part of a purported “Series C”

  round of fundraising.      Kirehner provided Investors 11, 12, 13, and 14 with copies of a

  document titled “Series C Preferred Stock Purchase Agreement.”               Each investor signed

  the document and, at Kirchner’s instruction, caused wire transfers to transmit between

                                                     9
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  approximately $200,000 and $250,000 to the Slync Chase account.              Kirchner then

  transferred a portion of the funds to the Slync SVB account.           The money was then used to

  pay Slyne’s employees.

         30.     Between on or about April 25, 2022, and on or about May 9, 2022, Slync

  received approximately $850,000 in funds from these supposed “Series C” investors,

  which included the following:

                      Date                     Payer                         Amount

               4/25/2022                    Investor 11                    $199,975.22

               4/25/2022                    Investor 12                    $199,975.22

               4/29/2022                    Investor 13                    $250,000.00

                5/9/2022                    Investor 14                    $199,975.22

                                                               Total |     $849,925.66


         31.   | Defendant Christopher Kirchner obtained these funds for Slync using

  misrepresentations because there was no “Series C” offering.           Kirchner’s

  misrepresentations included, but were not limited to, the following:

                 a.          On or about April 17, 2022, defendant Christopher Kirchner met

         with Investor 13 and asked if Investor 13 would like to invest in Slync during the

         company’s Series C fundraising round.

                 b.          On or about April 18, 2022, defendant Christopher Kirchner

         emailed Investor 13 a link to an “overview of the business” titled “Slync Series

         C.”   Kirchner wrote: “Good catching up last night... spoke to my attorneys last

         night and the min for the round is $250k.        Happy to chat more about it, but we are
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         closing it [in two days].     On or about April 27, 2022, Investor 13 signed the

         document titled Series C Preferred Stock Purchase Agreement.

         32.      Slync’s Board of Directors did not authorize this “Series C” securities

  offering, as would have been required.     Defendant Christopher Kirchner’s

  misrepresentation that there was a “Series C” fundraising round was material and caused

  Investors 11, 12, 13, and 14 to wire Slync money.

         33.     In the summer of 2022, news outlets including Business Insider and Forbes

  published stories detailing the payroll issues at Slync and highlighting defendant

  Christopher Kirchner’s lavish lifestyle. As these news articles started to emerge, the

  “Series C” investors learned of derogatory allegations against defendant Christopher

  Kirchner and asked for a return of their money.      These requests went unfulfilled until in

  or about August 2022, when Kirchner sold his Gulfstream jet after instructing his

  aircraft broker to arrange a sale.   Kirchner then used a portion of the aircraft sale

  proceeds to repay the “Series C” investors.

         34.     Specifically, on or about August 19, 2022, the KFIM bank account ending

  in 3574 at Bank of America, that defendant Christopher Kirchner controlled, received a

  wire transfer of approximately $2,303,126.78 from an aircraft title company for the sale

  of Kirchner’s Gulfstream jet. Kirchner then caused a series of wire transfers from the

  KFIM bank account ending in 3574 at Bank         of America—not one of Slync’s—to repay

  the “Series C” investors:
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                   Date                       Payee                    Amount

                 8/22/2022               Investor 13                  $250,000.00

                 8/23/2022               Investor 14                  $200,000.00

                 8/23/2022               Investor 11                  $200,000.00    “|

                 8/24/2022               Investor 12                  $200,000.00     |

                                                            Total |   $850,000.00


         35.    | While defendant Christopher Kirchner was obtaining money from these

  Series C Investors, he misled others about the cause of Slync’s payroll issues.     That is,

  Kirchner told Slync’s Board of Directors that the company’s cash was invested in

  illiquid assets and Slyne was having difficulty making payroll because it could not divest

  those assets quickly enough.    Kirchner repeated a similar explanation to employees in

  meetings and company emails.      Thereafter, Kirchner told members of Slync’s Board of

  Directors that the United States government had frozen Slyne’s accounts because

  Kirchner had transacted in his personal capacity with sanctioned entities in Russia.       All

  these explanations were untrue.

         36.    | Onor about May 5, 2022, a representative from Slync’s payroll

  management provider emailed Individual | that it had not received Slync’s payroll

  payment.     Individual | forwarded the email to defendant Christopher Kirchner and

  asked him to send the provider confirmation that Kirchner had initiated a wire transfer.

  Kirchner told Individual | that the delay was because he had sent the wire from the

  Slyne Chase account instead of the Slync SVB account, which was the account usually

  used for payroll.
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         37.     On or about May 6, 2022, defendant Christopher Kirchner emailed the

  representative at Slync’s payroll management provider and wrote: “Please see wire

  confirmation for our payroll below.”   An accompanying message purported to be

  confirmation that Chase began processing a wire transfer of $566,241.06 on May 5, 2022.

  That confirmation message was falsified.

         38.     Defendant Christopher Kirchner also fired Slync employees who raised

  concerns over his management of the company’s finances.      A Slync employee known to

  the Grand Jury as Individual 2 joined Slync in or about September 2021.     Individual 2’s

  job responsibilities included managing Slync’s financial records, which Kirehner had

  previously been doing by himself.   From in about September 2021 to May 2022,

  Individual 2 repeatedly asked Kirchner for access to Slync’s financial records.

  Kirchner never provided that access to Individual 2.

         39.   | Onor about May 26, 2022, Investor 7 sent Individual 2 a Slyne financial

  statement that defendant Christopher Kirchner had provided to Investor 7. The

  statement listed certain financial metrics for 2020 and 2021, including quarterly annual

  recurring revenue (“ARR”) and revenue figures, and the number of customers that Slyne

  had at the end of each quarter.

         40.    Based on Individual 2’s review of Slync’s customer contracts and

  conversations with other Slync employees, Individual 2 believed that several of the

  figures on the financial statement were false, including the ARR and revenue figures, and

  the number of Slync’s customers.
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         41.       On or about May 26, 2022, as a result of Individual 2’s observations about

  the financial statement, Individual 2 called two members of Slync’s Board of Directors

  known to the Grand Jury as Board Member | and Board Member 2. Individual 2

  expressed concern that defendant Christopher Kirchner was falsely exaggerating

  Slync’s financial performance and reported concerns regarding Slync’s payroll issues.

  Thereafter, Board Members      | and 2 spoke with Kirchner.      On or about May 30, 2022,

  Kirchner directed Slync’s information technology staff to remove Individual 2’s access

  to Slyne systems.    On or about June 17, 2022, Individual 2 received a termination letter

  from Slync.

         42.       On or about June 5, 2022, after Slync missed a payroll payment, Individual

  3, a manager in Slync’s engineering department, emailed Slync’s Board of Directors to

  raise concerns about defendant Christopher Kirchner’s management of Slync.

         43.       Onor about June 6, 2022, defendant Christopher Kirchner informed

  Slync executives that he decided to fire Individual 3. The following week, Individual 3

  lost access to Slyne’s computer systems.    On or about August 6, 2022, Individual 3

  received a termination letter from Slync.

         44.       Onor about July 20, 2022, defendant Christopher Kirchner reported to

  Board Members | and 2 that Slync had paid its payroll.         Board Members | and 2 asked

  Kirchner to prove that he was telling the truth.    In response, Kirchner emailed Board

  Member 2 a document that purported to be an outgoing wire report showing that payroll

  had been paid.    Board Member 2 forwarded the document to Board Member |. Board

  Member | then called Individual |—who prepared payroll for Kirchner’s approval—to

                                                 14
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  confirm that Slync had in fact paid payroll.    Individual | notified Board Member | that

  Slync had not paid payroll. The document Kirchner provided to Board Member 2 was

  falsified.

          45.     Onor about July 24, 2022, Slync’s Board of Directors suspended defendant

  Christopher Kirchner.      Soon thereafter, Kirchner removed certain information

  technology administrator privileges from key Slync employees, preventing the employees

  from accessing Slync’s computer systems.       Kirchner then attempted to delete

  approximately    18 gigabytes of Slync data, including emails.

          46.     In or about August 2022, Slync terminated defendant Christopher

  Kirchner.
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                                      Counts One through Five
                                             Wire Fraud
                                  [Violation of 18 U.S.C. § 1343]

         47.       The allegations contained in paragraphs | through 46 of this Indictment are

  repeated and realleged as if fully set forth herein.

         48.       On or about the dates set forth below, in the Northern District of Texas and

  elsewhere, Christopher Kirchner, the defendant, willfully and knowingly, having

  devised and intending to devise a scheme and artifice to defraud, and for obtaining

  money and property by means of false and fraudulent pretenses, representations, and

  promises, transmitted and caused to be transmitted by means of wire, radio, and

  television communication in interstate and foreign commerce, writings, signs, signals,

  pictures, and sounds for the purpose of executing such scheme and artifice, to wit,

  Kirchner, through the use of interstate wire communications, made material

  misrepresentations and omissions to Slync and Slync investors, and misappropriated

  funds for his own use as more particularly described in each count below:




                               Transfer of approximately $45,000 from Slyne SVB account
  1            10/15/2020
                               ending in 6347 to Slync Chase account ending in 0392.
                               Transfer of approximately $20,000,000 from Slync SVB account
  a            LekDoae         ending in 6347 to Kirchner’s SVB account ending in 0637.
                               Transfer of approximately $99,950 from Slyne SVB account
  3             3/2/2021
                               ending in 6347 to Slync Chase account ending in 0392.
                               Transfer of approximately $500,000 from Slynce Chase bank
  4             3/4/2021       account ending in 0392 to KFIM Bank of America Account
                               ending in 3574.
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                            Transfer of approximately $250,000 from Investor 13 to Slyne
            4/29/2022
                            Chase account ending in 0392.

  Each in violation of 18 U.S.C. § 1343.
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                                    Counts Six through Thirteen
                          Engaging in Monetary Transactions in Property
                            Derived from Specified Unlawful Activity
                                  [Violation of 18 U.S.C. § 1957]

          49.    The allegations contained in paragraphs | through 46 of this Indictment are

  repeated and realleged as if fully set forth herein.

          50.    On or about the dates set forth below, in the Northern District of Texas and

  elsewhere, Christopher Kirchner, the defendant, did knowingly engage in monetary

  transactions, affecting interstate commerce, in criminally derived property of a value

  greater than $10,000.00, that is, numerous purchases, including vehicles, an airplane,

  and real and personal property, with checks and wire transfers drawn on accounts at

  financial institutions engaged in interstate commerce, the funds used to purchase such

  property having been derived from wire fraud, a criminal offense under 18 U.S.C.

  § 1343, a specified unlawful activity.




                        | Wire transfer from Kirchner’s SVB account             P
   6       6/17/2020      in 0637 for down payment for residence in                  $669,453.05
                         Westlake, Texas.
                         Wire transfer from Kirchner’s SVB account ending
   7       12/14/2020    in 0637 for deposit for Gulfstream GV-SP (G550)            $5,000,000.00 |
                          private jet aircraft.
                         Wire transfer from Kirehner’s SVB account ending
   8       12/14/2020    in 0637 for lease payment for luxury suite at the           $495,000.00
                         stadium of a local professional sports team.
                         Wire transfer from Kirchner’s SVB account ending
                         in 0219 to pay the remaining balance for the
   9       12/22/2020                                                               $11,131,500.00
                         purchase of Gulfstream GV-SP (G550) private jet
                         aircraft.
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                              le:
                              aba   Saat
                      Wire transfer fr   Kirchner’s Bank ‘of America
         3/5/2021   | account ending in 3574 for purchase of residential         $1,411,470.07
                      lot in Westlake, Texas.
                     Personal check drawn on Kirchner’s Bank of
                     America account ending in 5469 for purchase of
         6/9/2021                                                                 $287,106.72
                     2021 Porsche 911 Turbo S Cabriolet, VIN
                     WP0CD2A90MS8263853.
                     Cashier’s check drawn on Kirchner’s Bank of
                     America account ending in 5469 for purchase of
        8/16/2021                                                                 $283,261.12
                     2021 Mercedes-Benz AMG           G63, VIN
                     WINYC7HJ9MX401228.
                     Personal check drawn on Kirchner’s Bank of
                     America account ending in 5469 for down payment
        3/15/2022                                                                  $75,000.00
                     for 2022 Rolls-Royce Cullinan, VIN
                     SLATV4C05NU211445.
                                                                        Total    $19,352,790.96

        Each in violation of 18 U.S.C. § 1957.
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                                         Notice of Forfeiture
              [18 U.S.C § 981(a)(1)(C) and 28 U.S.C. § 2461(c):     18 U.S.C. § 982(a)(2)(A);    18
                                             U.S.C. § 982(a)(1)]

         51.     | Upon conviction for any offense charged in Counts One through Five of

  this Indictment, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), and 18

  U.S.C. § 982(a)(2)(A), the defendant, Christopher Kirchner, shall forfeit to the United

  States any property, real or personal, which constitutes or is derived from proceeds

  traceable to the respective offense.

         52.     | Upon conviction for any offense charged in Counts Six through Thirteen of

  this Indictment, pursuant to 18 U.S.C. § 982(a)(1), the defendant, Christopher

  Kirchner, shall forfeit to the United States any property, real or personal, involved in, or

  traceable to property involved in, the respective offense.

         53.       The property subject to forfeiture includes, but is not limited to, the

  following:

         a.    The proceeds traceable to each of Counts One through Five, as well as the
               scheme to defraud underlying those Counts, in the form of a “money
               judgment” in the amount of at least $25,000,000.
         b.    The value of the property involved in each of Counts Six through Thirteen, in
              the form of a “money judgment” in the amount of the respective laundering
              transaction.
           . 2021 Mercedes Benz AMG G63, VIN WINYC7HJ9MX401228.
        ao




            . 2022 Rolls Royce Cullinan, VIN SLATV4C05NU211445.
         e. Richard Mille 95% Platinum Watch with Sports Rubber Bracelet, Model
              RMO008/AFPT/27, Serial No. PT950.
         f. Men’s Rolex Oyster Cosmograph Dayton Watch, 18K Yellow Gold, Model
              116508, Serial No. 12474111.
         g.    Ladies’ Rolex Oyster Perpetual Date Just Watch in 18K Rose Gold, Model
               81285, Serial No. J0560855.
         h.    Men's Rolex Oyster Perpetual Cosmograph Daytona Watch in 18K White
               Gold, Model 116509, Serial No. Z071060.


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        i.   Ladies Rolex Oyster Perpetual Date Just Watch in Stainless, Model      178240
             Serial No. 538M19L0.
       j.    Cartier Panther-Style Pendant Necklace in 18K Yellow Gold, seized on
             February 14, 2023.
        k. Round Monette with Pink Roses Painting by Sarah Ashley Longshore.
        1. Eleven cases of wine, including bottles of wine from the Lokoya winery,
           seized from on February 14, 2023.
        m. The real property located at 1209 Perdenalas Trail, Westlake, Tarrant County,
           Texas, a 2.313 acre tract of land situated in the Josiah Walker Survey, Abstract
           No. 1604, Town of Westlake, Tarrant County, Texas, and being all of Lots 19
           and 20, Block L of the Vaquero ~ Arthur Addition, Phase 3 according to the
           Plat thereof recorded in Instrument No. D203426028 of said Map or Plat
           Records of Tarrant County, Texas, said 2.313 acre tract of land being more
           particularly described by metes and bounds as follows:
                   BEGINNING at a 2” iron rod found for corner in the South line of
                   Perdenalas Trail (35 foot wide Right-of-Way), at the Northwest corner
                   of said Lot 20, same being the Southwest corner of Lot 21, Block L;
                   THENCE South 64°32°49” East with the North line of said Lot 20,
                   same being the south line of Lot 21 a distance of 284.19 feet to 2” iron
                   rod found at the Northeast corner of said Lot 20, same being the
                   Southeast corner of said Lot 21, and being in the West line of Lot 23,
                   Block L;
                   THENCE South 00°33’08” East with the West line of said Lot 20, same
                   being the East line of said Lot 23 a distance of 233.51 feet to a point for
                   corner at the Southeast corner of said Lot 20, same being the Southwest
                   corner of said Lot 23, and being in the South line of said Block L of the
                   above referenced Phase 3;
                   THENCE South 89°47°42” West with the South line of said Lot 20,
                   Block L at a distance of 172.19 feet passing a point for corner at the
                   Southwest corner of said Lot 20, same being the Southeast corner of
                   said Lot 19 and continuing a total distance of 362.80 feet to a point for
                   corner in the South line of said Block L, and being at the Southwest
                   corner of said Lot 19, same being the Southeast corner of Lot 18, Block
                   L of said Vaquero — Arthur Addition Phase 3;
                   THENCE North 00°37°05” West with the common line between said
                   Lots 18 and 19 distance of 243.55 feet to a 2” iron rod found in the
                   South line of Perdenalas Trail, at the Northwest corner of said Lot 19,
                   same being the Northeast corner of Lot 18, and being at the beginning
                   of a non-tangent curve to the left:
                   THENCE in a Northeasterly direction with the South line of said
                   Perdenalas Trail, the North line of said Lot 19, and with said curve to
                   the left having a radius of 129.50 feet, whose chord bears North


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                   79°03°05” East, a distance of 2.59 feet, for an arc length of 2.59 feet at
                   the beginning of a reverse curve to the right;
                   THENCE in a Southeasterly direction with the Said North and South
                   lines and with said reverse curve to the right having a radius of 14.00
                   feet, whose chord bears South 69°39°36” East, a distance of 14.78 feet,
                   for an arc length of 15.57 feet at the beginning of a reverse curve to the
                   left;
                   THENCE in a Northeasterly direction continuing with the said South
                   line of Perdenalas with said reverse curve to the left having a radius of
                   50.00 feet, whose chord bears North 53°11°56” East, a distance of 99.98
                   feet, at an arc length of 128.85 feet passing a point for corner at the
                   Northeast corner of Lot 19, same being an angle corner in the West line
                   of Lot 20, and continuing with said curve to the left a total length of
                    155.08 feet to a point for corner at the beginning of a reverse curve to
                   the right;
                   THENCE in the Northwesterly direction with the common line of
                   Perdenalas Trail and said Lot 20 and with said reverse curve to the right
                   having a radius of 14.00 feet, whose chord bears North 10°06’ 14” West,
                   a distance of 12.14 feet, for an arc length of 12.56 feet to a point for
                   corner in said common    line;
                   THENCE North 15°35°44” East continuing with said common line a
                   distance of 26.33 feet to 2” iron rod found at the beginning of a curve to
                   the left;
                   THENCE in the Northeasterly direction with said common line and with
                   said curve to the left having a radius of 367.50 feet, whose chord bears
                   North 13°55°20” East, a distance of 21.47 feet, for an arc length of
                   21.47 feet;
                   Back to the POINT OF BEGINNING and CONTAINING                  100,740
                    square feet or 2313 acres of land, more or less.
             All funds currently contained in Bank of America Account No.
             XXXXXXXX3574, in the name of KFIM, LLC.
       oO.    All funds currently contained in Bank of America Account No.
             XXXXXXXX1186, in the name of Alyssa Kirchner.
             All funds currently contained in Bank of America Account No.
             XXXXXXXX5469, in the name of Christopher Kirchner and/or Alyssa
             Kirchner.
             All funds currently contained in Bank of America Account No.
             XXXXXXXX5472, in the name of Christopher Kirchner and/or Alyssa
             Kirchner.
